   Case 2:07-md-01873-KDE-MBN Document 14443 Filed 06/21/10 Page 1 of 2




                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


IN RE: FEMA TRAILER FORMALDEHYDE                    * MDL NO. 1873
PRODUCT LIABLIITY LITIGATION                        *
                                                    * Section: “N-5”
This Document Relates to:                           *
Elray Clark, et al v. Keystone RV Company, et al ., * JUDGE ENGELHARDT
EDLA No. 09-3374                                    * MAG. JUDGE CHASEZ
*************************************************************************

                          NOTICE OF VOLUNTARY DISMISSAL

       NOW INTO COURT, through undersigned counsel, comes the Named Plaintiffs who,

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) hereby voluntarily dismiss Keystone

RV Company and Fluor Enterprises, Inc., as defendants in the above-captioned matter as this

instant suit is duplicative of Clark, et al v. Keystone RV Company., et al, 09-5002 (E.D.La.

2009). Both cases involve the same parties and the same substantive allegations.

       Accordingly, the Named Plaintiffs seek to voluntary dismiss the above-captioned matter,

while reserving all rights and allegations asserted in Clark, et al v. Keystone RV Company, et al,

09-5002 (E.D.La. 2009).



                                             Respectfully submitted:

                                             GAINSBURGH, BENJAMIN, DAVID,
                                             MEUNIER & WARSHAUER, LLC

                                             BY:    /s/ Justin I. Woods
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    Case 2:07-md-01873-KDE-MBN Document 14443 Filed 06/21/10 Page 2 of 2




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2010, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record who are CM/ECF participants. I further certify that I mailed the foregoing document

and the notice of electronic filing by first-class mail to all counsel of record who are non-

CM/ECF participants.


                                               /s/ Justin I. Woods
                                              JUSTIN I. WOODS, #24713
